           Case 4:00-cr-40101-GPM                       Document 468 Filed 05/11/07               Page 1 of 3        Page ID
B A O 245D      (Rev. 03106) Judgment in a Criminal Case for Revocations #328
                Sheet 1
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                                                               r I E w
                                      UNITEDSTATESDISTRICTCOURT^^^
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                                             SOUTHERN       Distnct of        ILLINOIS             P15m UISTRICT          COURT
                                                                                                              DIS~ICTOF ILUNOIS
UNITED STATES OF AMERICA                                           JUDGMENT IN A C%#~@=-E
v.                                                                 (For Revocation of Probahon or Supervised Release)

CHAD SANDERS                                                       Case Number:                     4:00CR40101-04-GPM
                                                                   USM Number:                      05523-025
                                                                   Melissa A. Day, AFPD
                                                                   Defendant's Attorney
THE DEFENDANT:
- admitted guilt to violation of condition(s) statutory, standard & special          of the term of supervision.

- was found in violation of condition(s)                                         after denial of guilt.
The defendant is adjudicated guilty of these violations:

Violation Number                  Nature of Violation                                                     Violation Ended
See attached sheet




       The defendant is sentenced as provided in pages 2 through          3      of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.

- The defendant has not violated condition(s)                                 and is discharged as to such violation(s) condition.

            It is ordered that the defendant must notif the United States attorney for this dishict within 30 days of any
                                                        1
change of name, residence, or mailing address unh all fmes, restitution, costs, and special assessments imposed by this judgment are
l l l y paid. If ordered to pay restitution, the defendant must notify the court and Unlted States attorney of material changes m
economc circumstances.

Defendant's Sac. Sec. No.:     ***-**-7287
Defendant's Date of Birth:     **-**-I979


Defendant's Residence Address:

Citv: 132 W. National, A~arhnentD

State: Harrisburg, Illinois 62946                                  Hon. G.Patrick Muruhv. Chief. U. S. District Judge
                                                                   Name and Tiye of Judge



                                                                   Date
                                                                                            07
Defendant's Mailing Address:

132 W. National. Apartment D
Harrisbure. Illinois 62946
           Case 4:00-cr-40101-GPM                      Document 468 Filed 05/11/07              Page 2 of 3       Page ID
A 0 245D    (Rev. 03/06 Judgment in a Criminal Case for Revocations
                                                                    #329
            Sheet 2   Imprisonment

                                                                                               Judgment - Page 2            3
DEFENDM:                    CHAD SANDERS
CASE NUMBER:                4:00CR40101-04-GPM


                                                     IMPRISONMENT

        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:    12 months and 1 day




    - The court makes the following recommendations to the Bureau of Prisons:
        that the defendant he housed as close to his home as possible.



    - The defendant is remanded to the custody of the United States Marshal.

    - The defendant shall surrender to the United States Marshal for this district:
        -    at                             - a.m.       g p.m.         on

        -    as notified by the United States Marshal.

    - The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
        - before 2 p.m. on
        -    as notified by the United States Marshal.

        -    as notified by the Probation or Pretrial Services Office

                                                            RE3,TURN
I have executed this judgment as follows:




        Defendant delivered on                                                    to

a                                              with a certified copy of this judgment.




                                                                                            UNITED STATES MARSHAL


                                                                    BY
                                                                                         DEPUTY W I T E D STATES MARSHAL
          Case 4:00-cr-40101-GPM       Document 468 Filed 05/11/07              Page 3 of 3   Page ID
                                                 #330
Page Three
Judgment in a Criminal Case for Revocation
USA v. Chad Sanders, 00-CR-40101-004-GPM

Violation Number      Nature of Violation                                             Violation Ended
Statutory           On August 9,2006, the offender nnlawfnlly possessed                   August 9,2006
                    a controlled substance in that he tested positive for cocaine.

                    On August 21,2006, the offender admitted to unlawfully               August 17,2006
                    possessing a controlled substance, cocaine, on August 17,
                    2006.

                    On September 7,2006, the offender admitted to unlawfully             September 6,2006
                    possessing a controlled substance, cocaine, on September 4,
                    2006 and September 6,2006.

                    On September 14,2006, the offender admitted to unlawfully            September 10,2006
                    possessing a controlled substance, cocaine, on September 10,
                    2006.

                    On March 14,2007, the offender admitted to unlawfully                March 10.2007
                    possessing a controlled substauce, marihnaua, on or about
                    March 10,2007.

Standard #2         The offender failed to submit a written report for the               September, 2006
                    following months: July 2006, August 2006, and September
                    2006.

                    The offender failed to report to the probation officer by             September 11,2006
                    telephone on August 28,2006, September 4,2006, and
                    September 11,2006.

Standard #3         On August 8,2006, the offender failed to provide truthful            August 8,2006
                    information to his probation officer concerning his drug use.

Standard #6         On or about July 8,2006, the offender quit his employment            July 8,2006
                    without prior notice to his probation officer.

Special             The offender failed to participate in a program for substance        March 7,2007
                    abuse in that he failed to report for counseling on the
                    following dates: July 25,2006, August 17,2006, August 24,
                    2006, and March 7,2007.

                    The offender failed to call the on-site drug testing program         March 27,2007
                    on the following dates: June 18,2006; July 15,2006; July 16,
                    2006; July 24,2006; July 30,2006; August 5,2006; August 6,
                    2006; August 12,2006; August 13,2006; September 2,2006;
                    September 4,2006; September 7,2006; September 10,2006;
                    September 11,2006; September 13,2006; March 17,2007;
                    and March 27,2007.

                    The offender failed to report for drug testing on July 25,2006;      March 12,2007
                    August 4,2006; September 7,2006; and on March 12,2007.
